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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 CITY OF WARREN POLICE & FIRE
 RETIREMENT SYSTEM,
 individually and on behalf of             20-cv-2031 (JSR)
 all others similarly
 situated,                                 ORDER

             Plaintiff,

         -against-

 WORLD WRESTLING ENTERTAINMENT
 INC., VINCENT K. MCMAHON,
 GEORGE A. BARRIOS, and
 MICHELLE D. WILSON,

             Defendants.



JED S. RAKOFF, U.S.D.J.

     Because the parties in the above-captioned case have executed

a term sheet regarding settlement, the case is hereby stayed until

December 23, 2020, by which time the parties should be prepared to

file the settlement agreement and motion for preliminary approval

of the settlement with the Court.

     SO ORDERED.



Dated:      New York, NY                     ________________________

            November 23, 2020                JED S. RAKOFF, U.S.D.J.




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